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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                        MISSOULA DIVISION



CORY BLANKEN,                                     CV 20-143-M-DWM


            Plaintiff,

      vs.                                                 ORDER


SAFECO INSURANCE COMPANY
OF AMERICA,

            Defendant.




     The parties having filed a stipulation for dismissal pursuant to Rule 41(a),
     IT IS ORDERED that the above-captioned cause is DISMISSED WITH

PREJUDICE,each party to pay its own costs. All pending motions are MOOT and
all deadlines are VACATED.
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     DATED this   1       day of November, 2020.




                                      Donafd      MolW,District Judge
                                      Unitedy^ates DiWict Court
